            Case 3:24-cv-03811-JSC Document 143-1 Filed 07/11/24 Page 1 of 3




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16
                                NORTHERN DISTRICT OF CALIFORNIA
17
                                    SAN FRANCISCO DIVISION
18
     CONCORD MUSIC GROUP, INC. et al.                 Case Number: 3:24-cv-03811-JSC
19
20         Plaintiffs,                                DECLARATION OF JEFFREY G.
                                                      KNOWLES IN SUPPORT OF JOINT
21         v.                                         STIPULATION AND [PROPOSED]
                                                      ORDER TO CONTINUE CASE
22   ANTHROPIC PBC,                                   MANAGEMENT CONFERENCE TO
                                                      AUGUST 15, 2024
23         Defendant.
24                                                    Hon. Jacqueline Scott Corley

25                                                    Current Initial CMC Date: July 25, 2024

26
27         I, Jeffrey G. Knowles, hereby declare pursuant to 28 U.S.C. § 1746 as follows:
28
                                                                              Case No. 3:24-cv-03811-JSC
                                     DECL. ISO JOINT STIPULATION AND [PROPOSED] ORDER TO CONTINUE CMC
             Case 3:24-cv-03811-JSC Document 143-1 Filed 07/11/24 Page 2 of 3




 1           1.      I am an attorney at the law firm of Coblentz Patch Duffy & Bass LLP. I represent

 2   Plaintiffs Concord Music Group, Inc., Capitol CMG, Inc., Universal Music Corp., Songs of

 3   Universal, Inc., Universal Music – MGB NA LLC, Polygram Publishing, Inc., Universal Music –

 4   Z Tunes LLC, and ABKCO Music, Inc. in this matter. I have personal knowledge of the facts stated

 5   herein based on my personal knowledge. If called upon to do so, I am able to testify competently

 6   to the matters as stated therein.

 7           2.      Pursuant to Civil L.R. 6-2, I respectfully submit this declaration in support of the

 8   Parties’ Joint Stipulation and [Proposed] Order to Continue the Case Management Conference to
 9   August 15, 2024. The Parties request a continuance of the initial Case Management Conference

10   (“CMC”) for the following reasons:

11           3.      The initial CMC before the Honorable Laurel Beeler was scheduled for September

12   26, 2024 at 11:00 AM. ECF No. 126.

13           4.      Following the declination of magistrate judge jurisdiction, this case was reassigned

14   to this Court. ECF No. 132.

15           5.      This Court then scheduled the initial CMC for July 25, 2024, at 1:30 PM, with the

16   Parties’ Case Management Statement due by July 18, 2024. ECF No. 133.

17           6.      Plaintiffs’ lead trial counsel is unable to attend the initial CMC before this Court as

18   currently scheduled on July 25, due to pre-existing obligations involving out-of-country travel
19   without access to videoconference.

20           7.      The Parties have met and conferred and agreed, subject to the Court’s approval, to

21   a continuance of the initial CMC until August 15, 2024 at 1:30 PM (which is the next available

22   Thursday on which lead trial counsel for all Parties are available for the CMC). This slight

23   continuance of the initial CMC will allow lead trial counsel for all Parties to attend the initial CMC

24   and promote the orderly and expeditious disposition of the case.

25           8.      This request to continue the initial CMC and attendant obligations to submit a Case

26   Management Statement will not impact any other deadlines or events already fixed by the Court.

27

28                                                      2                         Case No. 3:24-cv-03811-JSC
                                         DECL. ISO JOINT STIPULATION AND [PROPOSED] ORDER TO CONTINUE CMC
             Case 3:24-cv-03811-JSC Document 143-1 Filed 07/11/24 Page 3 of 3




 1          9.      For these reasons, the Parties stipulate to and respectfully request an order

 2   continuing the initial CMC currently scheduled for July 25, 2024 at 1:30 PM to August 15, 2024

 3   at 1:30 PM, and, pursuant to this Court’s Standing Order, continuing the Parties’ obligations to

 4   submit a Case Management Statement until August 8, 2024, seven (7) days before the initial CMC.

 5          I declare under penalty of perjury under the laws of the United States that the foregoing is

 6   true and correct to the best of my personal knowledge and belief.

 7          Executed in San Francisco, CA, this 11th day of July, 2024.

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 9                                                                 /s/ Jeffrey G. Knowles

10                                                                   Jeffrey G. Knowles
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28                                                    3                         Case No. 3:24-cv-03811-JSC
                                       DECL. ISO JOINT STIPULATION AND [PROPOSED] ORDER TO CONTINUE CMC
